BAKER & HOSTETLER LLP

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C. Dennis Loomis, Bar No. 82359
BAKER & HOST E’ TLER LLP

12100 Wilshire Boulevard, 15th Floor
Los Angeles, California 90025-7120
Telephone: 310.820.8800

 

Facsimile: 310.820.8859 =
Email: cdloomis@bakerlaw.com i
Attorneys for Plaintiff |
GLOBEFILL INCORPORATED, a Canadian

corporation

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

GLOBEFILL INCORPORATED, a CV 132-9 2 0 5 6 MPP (6 |

 

 

 

Canadian corporation,
COMPLAINT FOR DAMAGES
Plaintiff, AND INJUNCTIVE RELIEF FOR
TRADEMARK INFRINGEMENT
V. AND UNFAIR COMPETITION
TEQUILERA LA TILICA S.A..de C.V.,
a Mexican company; WEST COAST
GOODS LLC, a California limited DEMAND FOR JURY TRIAL
liability company,
Defendants.
COMPLAINT

Globefill Incorporated, by its attorneys, as its complaint against Defendants,
allege as follows:
PARTIES AND JURISDICTION
1, Globefill Incorporated (hereinafter “Globefill”), is a Canadian

|| corporation with its principal place of business at 333 Eglinton Avenue East,

| Toronto, Ontario, Canada M4P 1L7.

2. Upon information and belief, defendant Tequilera La Tilica S.A. de
C.V. (hereinafter “La Tilica”) is a Mexican company with its principal place of
business at Calle del Platero N° 5942, Col Artesanos, C.P. 45590, Tlaquepaque,
Jalisco, Mexico.

COMPLAINT FOR DAMAGES AND INJUNCTIVE
RELIEF FOR TRADEMARK INFRINGEMENT

 

 
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Case 2:13-cv-02056-ODW-CW Document 1. Filed 03/21/13 Page 2o0f13 Page ID#:5

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3. Upon information and belief, defendant West Coast Goods LLC
(hereinafter “West Coast Goods” is a California limited liability company with its
principal place of business at 2446 Palma Drive, Suite 340B, Ventura, California
93003-7785 United States.

4, West Coast Goods imports of LA TILICA brand tequila distilled and
produced by La Tilica (hereinafter referred to collectively as “Defendants” into the
United States.

5. This is an action for trademark infringement and for related claims of
unfair competition under the Lanham Act, 15 U.S.C. §§ 1114(1) and 1125(a) (as
amended). This Court has jurisdiction of this action under 28 U.S.C. §1331, 1332,
1338 (a)-(b) and 1367(a). Venue is proper in this district under 28 U.S.C. §§ 1391
and 1400(a).

STATEMENT OF FACTS

6. Globefill produces and sells an ultra-premium vodka in bottle
packaging in the shape of a human skull depicted in Exhibit A hereto.

7. Globefill is the owner of the trade dress that consists of “a
configuration of a bottle in the shape of a skull” for use in association with
“alcoholic beverages, namely vodka” (hereinafter “Skull Bottle Trade Dress”).
Globefill registered the trade dress with the United States Patent and Trademark
Office under Registration No. 4043730.

8. Registration No. 4043730 was filed by Globefill on March 24, 2010
and registered on October 25, 2011. A copy of Globefill’s registration certificate is
attached as Exhibit B hereto.

9. Pursuant to 15 U.S.C. § 1057, Globefill’s Registration No. 4043730, is
prima facie evidence of Globefill’s ownership of the trade dress, the non-
functionality and inherent distinctiveness of the trade dress, and exclusive right to
use the trade dress in association with the goods identified therein: “alcoholic

beverages, namely vodka.”

= Ee COMPLAINT FOR DAMAGES AND INJUNCTIVE
RELIEF FOR TRADEMARK INFRINGEMENT

 
BAKER & HOSTETLER LLP

ATTORNEYS AT LAW

Los ANGELES

Case 2:13-cv-02056-ODW-CW Document1 Filed 03/21/13 Page 30f13 Page ID #:6

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10. Upon information and belief, La Tilica is the distiller and producer of
three varieties of tequilas, blanco, anejo and reposado, sold in the United States in
skull-shaped trade dress as shown in true and accurate photographs in Exhibit C.

11. Upon information and belief, West Coast Goods is the U.S. importer
of the tequilas distilled and produced by La Tilica.

12. Upon information and belief, the tequilas distilled and produced by La
Tilica and imported by West Coast Goods is being advertised, marketed, offerd for
sale and sold in the United States.

COUNT I: FEDERAL TRADEMARK INFRINGEMENT

13. Globefill repeats, and incorporates by reference, the allegations set
forth in paragraphs 1-12.

14. Defendants and their tequilas are not affiliated, connected or
associated with, nor sponsored, authorized, approved or license by Globefill and/or
its vodka.

15. Upon information and belief, Defendants adopted and began using
skull-shaped trade dress for its tequilas without the consent or knowledge of
Globefill.

16. Defendants’ skull-shaped trade dress is similar to Globefill’s federally
registered Skull Bottle Trade Dress as both parties’ trade dresses consist of skull-
shaped bottle packaging for use in association with distilled spirits.

17. Upon information and belief, Globefill’s Skull Bottle Trade Dress and
Defendants’ skull-shaped trade dress are confusingly similar and both are used in
association with competing and related distilled spirits that travel in identical
channels of trade.

18. Upon information and belief, Defendants’ advertising, marketing,
offering for sale and sale of tequila in skull-shaped trade dress is likely to cause

relevant consuming public to be confused or mistaken as to whether Defendants or

«3. COMPLAINT FOR DAMAGES AND INJUNCTIVE
RELIEF FOR TRADEMARK INFRINGEMENT

 
BAKER & HOSTETLER LLP

ATTORNEYS AT LAW

Los ANGELES

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2.13-cv-02056-ODW-CW Document 1 Filed 03/21/13 Page 40f13 Page ID #:7

their tequila are affiliated, connected, or associated with, or sponsored, authorized,
or approved or licensed by Globefill and/or its vodka.

19. By the acts alleged herein, Defendants have infringed Globefill’s
federally registered Skull Bottle Trade Dress in violation of Section 32(1) of the
Lanham Act (15 U.S.C. §1114(1)). Defendants have thereby caused, are causing
and will continue to cause Globefill serious and irreparable damage for which there
is no adequate remedy at law, and Defendants’ acts will, unless enjoined by this
Court, continue to damage Globefill.

20. Upon information and belief, the aforesaid acts of trademark
infringement have been undertaken with knowledge of Globefill’s exclusive rights
to the Skull Bottle Trade Dress, and are willful, entitling Globefill to an award of
treble damages and attorneys’ fees in bringing and maintaining this action, pursuant
to Section 35(b) of the Lanham Act, 15 U.S.C. §1117(b).

COUNT II: FEDERAL UNFAIR COMPETITION

21. Globefill hereby repeat and incorporate by reference, the allegations
set forth in paragraphs 1-20.

22. Defendants’ advertising, marketing, offering for sale and sale of a
competitive distilled spirit in a confusingly similar skull-shaped trade dress
constitutes unfair competition and false designation of origin that is likely to
deceive customers and

23. By the aforesaid acts, Defendants have falsely designated the origin,
quality and nature of their goods and business and have falsely described and
represented same, causing likelihood of confusion and constituting unfair
competition in violation of Section 43(a) of the Lanham Act (15 U.S.C. §1125(a)).
Defendants have thereby caused, are causing and will continue to cause Globefill
serious and irreparable damage for which there is no adequate remedy at law, and

Defendants’ acts will, unless enjoined by this court, continue to damage Globefill.

-4- COMPLAINT FOR DAMAGES AND INJUNCTIVE
RELIEF FOR TRADEMARK INFRINGEMENT

 
BAKER & HOSTETLER LLP

ATTORNEYS AT LAW

Los ANGELES

Case

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24. Upon information and belief, the aforesaid acts of trademark
infringement have been undertaken with knowledge of Globefill’s exclusive rights
to the Skull Bottle Trade Dress, and are willful, entitling Globefill to an award of
treble damages and attorneys’ fees in bringing and maintaining this action, pursuant
to Section 35(b) of the Lanham Act, 15 U.S.C. §1117(b).

WHEREFORE, Plaintiff Globefill requests judgment as follows:

A. That Defendants, severally and jointly, along with their officers,
agents, servants, employees, attorneys, confederates, and all other persons in active
concert or participation with Defendants to whom notice of the injunction is given
by personal service or otherwise, be enjoined, at first preliminarily and, thereafter,
permanently, from making any use of any colorable imitation of Globefill’s Skull
Bottle Trade Dress in any manner whatsoever;

B. That Defendants jointly and severally be ordered to deliver up to
Globefill for destruction all materials comprising, associated with, bearing or
packaged in skull-shaped trade dress;

C. That Defendants jointly and severally be ordered to recall all goods,
advertisements and promotional materials comprising, associated with, bearing or
packaged in skull-shaped trade dress from their present locations, including, but not
limited to, locations owned by others;

D. That Defendants jointly and severally be required to account to
Globefill for any and all profits derived by them and to compensate Globefill for all
damages sustained by Globefill by reason of the acts complained of herein, and that
such damages be trebled;

E. That Defendants jointly and severally pay Globefill’s attorneys’ fees,
costs, and disbursements incurred in this action in view of the exceptional nature of
this case due to the willful and intentional nature of the unfair competition and false

designation of origin in the nature of trade dress infringement; and

-5- COMPLAINT FOR DAMAGES AND INJUNCTIVE
RELIEF FOR TRADEMARK INFRINGEMENT

 

 

 
BAKER & HOSTETLER LLP

ATTORNEYS AT LAW
Los ANGELES

Case

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F. Such other and further relief as the Court deems just.

Dated: March 20, 2013 BAKER & HOSTETL

    

© Detinis Loomis

Attorneys for Plaintiff
GLOBEFILL INCORPORATED, a
Canadian corporation

602032213

7 6 _ COMPLAINT FOR DAMAGES AND INJUNCTIVE

 

 

RELIEF FOR TRADEMARK INFRINGEMENT

 
Case 2:13-cv-02056-ODW-CW Document 1 Filed 03/21/13 Page 7 of 13 Page ID #:10

 

EXHIBIT A
Case 2:13-cv-02056-ODW-CW Document1 Filed 03/21/13 Page 80f13 Page ID #11

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Reg. No. 4,043,730
Registered Oct. 25, 2011
Int. Cl.: 33

TRADEMARK
PRINCIPAL REGISTER

 

Director of the United Status Patent and Trademark Otice

 

GLOBEFILL INCORPORATED (CANADA CORPORATION)

309 ALFRED STREET

KINGSTON, ONTARIO, CANADA K7L3S4

FOR: ALCOHOLIC BEVERAGES, NAMELY, VODKA, IN CLASS 33 (U.S. CLS. 47 AND 49).
FIRST USE 9-0-2008; IN COMMERCE 9-0-2008.

THE MARK CONSISTS OF A CONFIGURATION OF A BOTTLEIN THE SHAPE OF A SKULL.
THE BOTTLE CAP IS SHOWN IN DOTTED LINES AND IS NOTA PART OF THE MARK.

SER. NO. 77-967,530, FILED 3-24-2010.

SARA BENJAMIN, EXAMINING ATTORNEY

EXHIBIT B
Case 2:13-cv-02056-ODW-CW Document1 Filed 03/21/13 Page 9of13 Page ID #:12

 

REQUIREMENTS TO MAINTAIN YOUR FEDERAL
TRADEMARK REGISTRATION

WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

 

 

 

Requirements in the First Ten Years*
What and When to File:

First Filing Deadline: You must file a Declaration of Use (or Excusable Nomuse) between the
53th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k._ If the declaration is
accepted, the registration will continue in force for the remainder of the ten-year period, calculated
from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
federal court.

Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
Application for Renewal between the 9th and 10th years after the registration date.*
See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

 

The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
reminder of these filing requirements.

 

 

 

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
of Use (or Excusable Nomuse) referenced above directly with the USPTO. The time periods for filing are
based on the U.S. registration date (not the international registration date). The deadlines and grace periods
for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
See 15U.S.C. §§1058, 1141k. However, owners of international registrations do not file renewal applications
at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
International Bureau of the World Intellectual Property Organization, under Article 7 of the Madrid Protocol,
before the expiration of each ten-year term of protection, calculated from the date of the international
tegistration. See 15 U.S.C. §1141j. For more information and renewal forms for the international registration,
see http:/Awww.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http:/Avww.uspto.gov.

Page: 2/RN # 4,043,730

EXHIBIT B
Case 2:13-cv-02056-ODW-CW Document1 Filed 03/21/13 Page 100f13 Page ID#:13

 

EXHIBIT C
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Mariana R. Pfaelzer and the assigned
discovery Magistrate Judge is Carla Woehrle.

The case number on all documents filed with the Court should read as follows:

CV13- 2056 MRP (CWx)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

The United States District Judge assigned to this case will review all filed discovery
motions and thereafter, on a case-by-case or motion-by-motion basis, may refer
discovery related motions to the Magistrate Judge for hearing and determination

 

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NOTICE TO COUNSEL

 

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following location:

Western Division LJ Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

 

 

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNI

 

CIVIL COVER SHEET

 

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I, (a) PLAINTIFFS.( Check box if you are representing yourself [J )
GLOBEFILL INCORPORATED, a Canadian corporation

(b) Attorneys (Firm Name, Address and Telephone Number. If you
are representing yourself, provide same.)

C. Dennis Loomis, Esq.
BAKER & HOSTETLER LLP .
42100 Wilshire Boulevard, 15" Floor
Los Angeles, California 90025-7120
Tel; (310) 820-8800

DEFENDANTS

{company
(b) Attorneys (Firm

 

are representing yourself, provide same.)

Name, Address and Tele

 

( Check box if you are representing yourself}
TEQUILERA LA TILICA S.A., de C.V., a Mexican company;

WEST COAST GOODS LLC, a California limited liability

phone Number. If you

 

ll. BASIS OF JURISDICTION (Place an X in one box only.)

L] 4. U.S. Government
Plaintiff

L] 2. U.S. Government
Defendant

IX] 3. Federal Question (U.S.
Government Not a Party)

["]4. Diversity (Indicate Citizenship
of Parties in Item III)

 

(ll, CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only

(Place an X in one box for plaintiff and one for defendant)

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Citizen of This State 1 1 Incorporated or Principal Place 4
7 of Business in this State O C
Citizen of Another State [J2 [2 Incorporated and Principal Place off] 5 Cs
Business in Another State
Citizen or Subject of a
Foreign Country Ls CJ 3 Foreign Nation CJ 6 LI 6

 

IV. ORIGIN (Place an X in one box only,)

1. Original
Proceeding

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State Court

| 8, Remanded from

Appellate Court

Reopened

CJ 4. Reinstated or C] 5, Transferred from Another QO 6, Multi- District

District (Specify) Litigation

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes L] No (
CLASS ACTION under F.R.Cv.P. 23:

Clyes RQ No

Check "Yes" only if demanded in complaint.)

MONEY DEMANDED IN COMPLAINT: $2CCOrding to Proof

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing a

15 U.S.C. §§1114(1) and 1125(a). Trademark Infringement.

nd write a brief statement of cause, Do not cite jurisdictional statutes unless diversity.)

 

 

Vit. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

OTHER STATUTES CONTRACT .REAL PROPERTY. CONT, IMMIGRATION PRISONER PETHIONS __PROPERTY RIGHTS
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Instrument TORTS | PERSONAL PROPERTY [_]535 Death Penalty Cj 861 HIA (13951)
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460 Deportation

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Cl 480 Consumer Credit
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modities/Exchange
890 Other Statutory
Actions
Cc] 891 Agricultural Acts
CL 893 Environmental
Matters
895 Freedom of Info.
Act

[1] 896 arbitration
[-] 899 Admin, Procedures

Act/Review of Appeal of
Agency Decision

C] 850 Constitutionality of
State Statutes

 

Overpayment &
Enforcement of
Judgment

[1] 154 Medicare Act

C] 152 Recovery of
Defaulted Student
Loan (Excl, Vet.)

0D 153 Recovery of
Overpayment of
Vet. Benefits

[J 160 Stockholders’
Suits

(J 190 other
Contract

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Product Liability

ry 196 Franchise

I | 310 Airplane

315 Airplane
- Product Liability
; 320 Assault, Libel &
Slander

330 Fed. Employers’
Liability

C] 371 Truth in Lending

C] 380 Other Personal
Property Damage

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340 Marine

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L_] 422 Appeal 28
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423 Withdrawal 28
USC 157

 

355 Motor Vehicle

 

Product Liability
360 Other Personal
Injury

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365 Personal Injury-
Product Liability

 

REAL “PROPERTY

[_] 367 Health Care

 

 

[| 210 Land
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Pharmaceutical
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625 Drug Related
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FORFEINURE/PENALTY [J

 

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Act

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[] 740 Railway Labor Act

CJ 751 Family and Medical

Employment Leave Act
446 American with 790 Other Labor
Disabilities-Other Litigation
[] 448 Education — 791 Employee Ret, Inc,
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FOR OFFICE USE ONLY: Case Number: ow
AFTER COMPLETING PAGE 1 OF FORM

   

CV-71, COMPLETE THE INFORMATION REQUESTED ON PAGE 2,

 

 

870 Taxes (U.S. Plaintiff or
Defendant)

871 IRS-Third Party 26 USC
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CV-71 (02/13)

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CIVIL COVER SHEET

Page 1 of 2

 

 

 

 

 
 

Case 2:13-cv-02056-ODW-CW_Document1_ Filed 03/21/13 Page 130f13 Page ID#:16
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET
Viil(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO L] Yes
If yes, list case number(s):
VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? XI No L] YES

If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) LC] A. Arise from the same or closely related transactions, happenings, or events; or

TC] B. Call for determination of the same or substantially related or similar questions of law and fact; or
TC C. For other reasons would entail substantial duplication of labor if heard by different judges; or

C] D. Involve the same patent, trademark or copyright,_and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named
plaintiff resides.

Cc Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

California County outside of this District; State, if other than California; or Foreign

County in this District: Country

 

Canada

 

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named
defendant resides.

| |_Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

California County outside of this District; State, if other than California; or Foreign

County in this District:* Country

 

Tequilera La Tilica S.A. de C.V. - Mexico
West Coast Goods LLC - Ventura County

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
NOTE: In land condemnation cases, use the location of the tract of land involved.

 

California County outside of this District; State, if other than California; or Foreign

County in this District:* Country

 

 

 

 

 

*Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved _

vm
/
X. SIGNATURE OF ATTORNEY (OR SELF-REPRESENTED LITIGAN(): Vv © Ry —_Y—_— pate: March 20, 2013

. Dennis Loomis”

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or

other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).
Key to Statistical codes relating to Social Security Cases:

 

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,

861 HIA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

862 BL All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

863 piwc All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 DIWw All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))
All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as

864 SSID
amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

CV-71 (02/13) CIVIL COVER SHEET Page 2 of 2

American LegalNet, Inc.

www.FormsWorkFlow.com

 
